                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF VIRGINIA
                             ALEXANDRIA DIVISION

 HUANG ZHIYANG,                                §
                                               §
        Plaintiff,                             §
                                               §
 v.                                            §
                                               §    Civil Action No. 1:20-cv-836-LO-IDD
 45.COM, an Internet domain name, and          §
 JOHN DOE                                      §
                                               §
                Defendants.                    §
                                               §




I, 黄志扬 (Huang Zhiyang), declare as follows.


      1.      I submit this Declaration in support of the Motion to Intervene, Motion to

Reopen, and Motion for Relief from Judgment.

      2.      My name is 黄志扬 (Huang, Zhiyang). My birthday is                   , 1976. I am a


Chinese citizen and have an address at 福建省厦门市湖里区枋湖东一里                                      (

                     Huli Fanghu, Xiamen, Fujian, China).

      3.      I own an account with the Registrar (35.com) with a username hzy62280228.

      4.      I own the email account 1380603888@163.com.

      5.      I own the phone number +86.1380603888.

      6.      The Registrar account hzy62280228, the email account 1380603888@163.com,

and the phone number +86.1380603888 all have been under my control since 2015.
       7.      Around April 15-19, I authorized my attorneys to access my account with the

Registrar (35.com). My Registrar account has a username hzy62280228. I also authorized my

counsel to access my email address 1380603888@163.com.

       8.      All the certified translations referenced herein were prepared through the

assistance of my attorneys.1

       9.      I have collected and attached the following documents to prove my identity:

       10.     Exhibit HZY01 is my passport issued by the government of People’s Republic of

China. The passport shows my name, birthday (               , 1976), and my signature.

       11.     Exhibit HZY02 contains a copy and certified translation of my person ID issued

by the Chinese government. The personal ID shows my name 黄志扬 (Huang, Zhiyang), my


birthday            , 1976, and my address 福建省厦门市湖里区枋湖东一

(                              Huli Fanghu, Xiamen, Fujian, China). The personal ID bears the

personal ID number                     7176.

       12.     Exhibit HZY03 contains a copy and certified translation of my birth certificated

issued by the village committee of my birthplace and dated April 16, 2021. It states that I was

born on            , 1976 with a personal ID no.                    7176. It also states that my

father is 黄朝来 (Huang, Chaolai) with a personal ID no.                        7113 and that my

mother is 黄莲花 (Huang, Lianhua) with a personal ID no.                          712X.


       13.     To corroborate the birth certificate, I attach the personal IDs of my parents.

Exhibit HZY04 contains a copy and certified translation of my father’s personal ID issued by



1
 I understand from my counsel that the English translation is placed in a copy of each original
document, next to the corresponding Chinese text.
the Chinese government. The personal ID shows my father’s name 黄朝来 (Huang, Chaolai).

The personal ID bears the personal ID number                     7113. Exhibit HZY05 contains

a copy and certified translation of my mother’s personal ID issued by the Chinese government.

The personal ID shows my mother’s name 黄莲花 (Huang, Lianhua). The personal ID bears the


personal ID number                     712X.

       14.    My address is 福建省厦门市湖里区枋湖东一                                        (

               Huli Fanghu, Xiamen, Fujian, China). I provide the following documents to

show my address:

       15.    Exhibit HZY06 contains a copy and certified translation of my HuKou

registration (for what HuKou is, please refer to https://en.wikipedia.org/wiki/Hukou). The

HuKou registration was issued by the police department in Xiamen City and dated September

13, 2012. The HuKou registration shows my name 黄志扬 (Huang, Zhiyang), the registration


number        0200, and my address 福建省厦门市湖里区枋湖东一                                      (

                     Huli Fanghu, Xiamen, Fujian, China).

       16.    Exhibit HZY07 contains a copy and certified translation of the water bill invoice

for April 2021. The water bill invoice shows my name 黄志扬 (Huang, Zhiyang) and the


address 枋湖东一                       (                             Huli Fanghu).

       17.    Exhibit HZY08 contains copies of the water bill invoices for February 2021,

April 2020, June 2020, August 2020, and February 2020. They all show my name 黄志扬


(Huang, Zhiyang) and the address 枋湖东一                        (                               Huli

Fanghu).
